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 2                                                               FILED & ENTERED
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 4                                                                    MAR 01 2021

 5                                                               CLERK U.S. BANKRUPTCY COURT
                                                                 Central District of California
                                                                 BY duarte     DEPUTY CLERK
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 7
 8                       UNITED STATES BANKRUPTCY COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10                                     SANTA ANA DIVISION
11 In re                                            Chapter 11

12 THE SOURCE HOTEL, LLC.,                          Case No. 8:21-10525-ES

13
14                        Debtor(s).                ORDER: (1) SETTING HEARING ON
                                                    STATUS OF CHAPTER 11 CASE;
15                                                  AND (2) REQUIRING REPORT ON
                                                    STATUS OF CHAPTER 11 CASE
16
17                                                  Date: May 6, 2021
                                                    Time: 10:30 a.m.
18                                                  Place: Courtroom 5A

19
20
           You are hereby notified that a Status Conference hearing has been scheduled to
21
     take place in this Chapter 11 case at the above-captioned time and place. At the Status
22
23 Conference, the Court may, among other things, set deadlines for the filing proofs of
24 claims and interests, and for the filing of a plan and disclosure statement.
25         PLEASE TAKE FURTHER NOTICE that, based upon the Court’s records and
26 evidence presented at the status conference, the Court may do one or more of the
27
     following at the status conference (or at any continued hearing) without further notice:
28
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 1       1.    dismiss the case;

 2       2.    convert the case to another chapter;
 3       3.     order the appointment of a chapter 11 trustee;
 4
         4.    establish deadlines for the filing of claims, requests for payment of
 5
               expenses of administration and/or objections to claims;
 6
         5.    set deadlines for filing or soliciting acceptances of a proposed plan and
 7
 8             disclosure statement by the debtor or any other party in interest;

 9       6.    fix the scope and format of the notice to be provided regarding the hearing
10             on approval of the disclosure statement;
11
         7.    provide that the hearing on approval of the disclosure statement may be
12
               combined with the hearing on confirmation of the plan;
13
         8.    set a deadline for confirmation of a plan;
14
15       9.    set deadlines for compliance with reporting and other chapter 11 debtor in

16             possession requirements;

17       10.   set deadlines for the assumption or rejection of executory contracts or
18             unexpired leases; and/or
19
         11.   refer matters to mediation.
20
         IT IS HEREBY ORDERED as follows:
21
         1.    The debtor in possession (or the chapter 11 trustee, if one has been
22
23             appointed), shall serve a copy of this order on the United States Trustee, all

24             secured creditors, the official committee of unsecured creditors and its

25             counsel (or the 20 largest unsecured creditors, if no committee has been
26             appointed) and any parties that have requested special notice in the cases
27
               not less than 21 days prior to the date scheduled for the status conference;
28
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 1       2.    The debtor in possession (or the chapter 11 trustee, if one has been

 2             appointed) shall file with the court and serve on the parties identified in the
 3             preceding paragraph not less than 14 days prior to the date scheduled for
 4
               the status conference a written status report that includes the following
 5
               information:
 6
               a.       a brief description of the debtor’s businesses and operations, if any,
 7
 8                      and the principal assets and liabilities of each estate;

 9             b.       brief answers to these questions:
10                      1. What precipitated the bankruptcy filing?
11
                        2. What does the debtor hope to accomplish in this chapter 11case?
12
                        3. What are the principal disputes or problems likely to be
13
                        encountered during the course of the debtor’s reorganization efforts?
14
15                      4. How does the debtor recommend that these disputes be resolved

16                      and why?

17                      5. Has the debtor complied with all of its duties under 11U.S.C.
18                      Sections 521, 1106 and 1107 and all applicable guidelines of the
19
                        Office of the United States Trustee, and, if not, why not?
20
                        6. Do any parties claim an interest in cash collateral of the debtor?
21
                        7. Is the debtor using cash that any party claims as its cash collateral
22
23                      and, if so, on what date(s) did the debtor obtain an order authorizing

24                      the use of such cash or the consent of such party?

25             c.       the identity of all professionals retained or to be retained by the
26                      estate, the dates on which applications for the employment of such
27
                        professionals were filed or submitted to the United States Trustee,
28
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 1                         the dates on which orders were entered in response to such

 2                         applications, if any, and a general description of the type of services
 3                         to be rendered by each or the purpose of the employment;
 4
                    d.     in operating cases, evidence regarding projected income and
 5
                           expenses for the first six months of the case;
 6
                    e.     proposed deadlines for the filing of claims and objections to claims;
 7
 8                  f.     a proposed deadline for the filing of a plan and disclosure statement;

 9                         and
10                  g.     a discussion of any significant unexpired leases and executory
11
                           contracts to which the debtor is a party and the debtor’s intentions
12
                           with regard to these leases and contracts.
13
            IT IS FURTHER ORDERED that failure to timely comply with any provision of this
14
15 order may be deemed consent to the conversion or dismissal of this case, as well as
16 grounds for the imposition of monetary sanctions in an amount of not less than $100.00.
17          IT IS FURTHER ORDERED that the status conference shall be conducted by
18 Zoom videoconference. Debtor shall review the Court’s website at
19
     www.cacb.uscourts.gov for details.
20
21
                                                  ###
22
23
     Date: March 1, 2021
24
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28
